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  TikTok Users Drawn to Rival Platforms
  as Trump Threatens U.S. Ban; Triller and
   byte rise in the App Store; 'it's been 24
               hours of no sleep'
                                The Wall Street Journal Online


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 Unfamiliar names such as byte and Triller have charged up the Apple App Store rankings
 because they offer short videos like those on TikTok, the social-media breakout facing an
 uncertain future in the U.S.

 These nascent rivals are actively courting TikTok users, especially top influencers, in some
 instances offering cash payments to creators. They are trying to capitalize on a question
 that is dominating social-media chatter: What happens if TikTok really goes away?

 Kyle Thomas, a 15-year-old TikTok user with more than 16 million followers, said he would
 be upset without TikTok. "I spend all of my time on it. As much as it is my job, it's also my
 entertainment," he said. "If I can't have it, I wouldn't be sure what to do."

 The founders of the short-form video app Clash said they launched the service last week-
 months earlier than anticipated-to attract increasingly anxious social-media stars who
 made their home and livelihood on TikTok.

 Other companies are rolling out copycat features. Facebook Inc.'s Instagram is on the cusp
 of debuting its new TikTok-like service, called Reels.




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 The moves by TikTok's large and small rivals come as the company's parent, ByteDance
 Ltd. of Beijing, responds to an unprecedented amount of pressure from the White House
 because of national-security concerns . Some Trump administration officials have said they
 want TikTok to be fully American-owned, although President Trump said Monday he would
 approve a purchase of TikTok's U.S. operations if the government receives "a lot of money"
 in exchange.

 Among the potential suitors for TikTok is Microsoft Corp. On Sunday, Microsoft said it
 would move quickly to pursue discussions with ByteDance and aims to complete the
 negotiations by Sept. 15. It isn't clear if a deal will come to fruition.

 Agents and managers of popular online influencers have long pushed clients to build
 audiences on multiple platforms, but the current uncertainty has pushed some TikTok stars
 to hedge their bets.

 "It's the perfect time to play into the vulnerability and insecurities of creators," said
 Krishna Subramanian, chief executive of social-media data company Captiv8 Inc. "If TikTok
 disappears, what happens? Where do you go? If they get incentivized by a platform, you can
 easily see them creating content on these other platforms and channels."

 Triller and byte (no relation to ByteDance) on Sunday were ranked the top two free iPhone
 apps in the U.S., while TikTok was number five, according to Sensor Tower data. Daily app
 rankings tend to fluctuate but Triller and byte have climbed in both the App Store and
 Google Play in recent months. Even with the latest rankings, TikTok has a much larger user
 base, with 100 million users in the U.S. and hundreds of millions more world-wide.

 Triller, a music and video app that looks similar to TikTok, has seen several influencers from
 TikTok open accounts over the past several weeks, including this weekend.

 "It's been 24 hours of no sleep," said Ryan Kavanaugh, a Hollywood veteran whose film-
 production company Proxima Media invested in Triller .

 A spokeswoman for byte, created by Vine co-founder Dom Hofmann, said the company
 saw a huge influx of creators sign up for the app.

 A TikTok ban in the U.S. wouldn't be the first time social media influencers have had to
 forcibly abandon their large followings and move to unfamiliar platforms. India earlier this
 summer banned many Chinese apps, including TikTok , amid a dispute between the two
 countries. When Twitter Inc. effectively shut down Vine , a social-media app that allowed
 users to share short video clips, in 2016, many of the platform's biggest stars were forced
 to rebuild their followings on YouTube and Instagram.




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 Clash, co-founded by a former Vine creator, launched Friday night, hours after Mr. Trump
 expressed opposition to a TikTok sale and said he preferred to ban the app altogether.

 Clash CEO Brendon McNerney said he was sitting on a plane in a Vine sweatshirt when he
 got the news that Twitter was shutting down the looping video app in 2016. So he feels the
 pain of TikTok creators who are now grappling with uncertainty about the fate of the
 social-media powerhouse.

 "I actually saw the demise of Vine," Mr. McNerney said. "I remember how that rocked all
 my creator friends."

 Clash has been paying creators to test its service, and has climbed U.S. iPhone app
 download rankings in the free photo and video app category, ranking No. 14 as of Monday,
 according to Sensor Tower data.

 Instagram's Reels has offered some creators hundreds of thousands of dollars to use the
 coming feature, The Wall Street Journal previously reported.

 TikTok users have been encouraging their followers to subscribe to their channels,
 sometimes newly created, on other platforms, with Instagram and YouTube appearing to
 be popular destinations, said Alessandro Bogliari, CEO of the Influencer Marketing
 Factory, a marketing agency that works with brands and social-media personalities.

 But it isn't so simple. Many TikTok stars have just a fraction of the following on other
 platforms, and it may be tough for influencers to get their TikTok fans to follow them
 elsewhere.

 "I don't know how they're going to get folks to jump," said Kena Peay, a cooking and hiking
 influencer who previously worked at Instagram.

 Charli D'Amelio-one of TikTok's biggest stars, with 76 million followers-has increasingly
 been posting on Instagram, where she has a little more than 25 million followers, Mr.
 Subramanian said. Ms. D'Amelio, who declined to comment, also has about 320,000
 followers on Triller.

 Brittany Furlan, 33, a California-based comedian and actress with more than a million
 followers on TikTok, had millions of followers on Vine before leaving a few months ahead
 of the shutdown. She advised fellow TikTok users who may be forced to move to other
 platforms to not be discouraged.

 "Just don't stop creating," Ms. Furlan said, and advised them to use as many other social
 media platforms "as you can to get your views and get people to see it and share it."




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